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              11 Taylor Made Golf Company, Inc.
              12
                                        UNITED STATES DISTRICT COURT
              13
                                     SOUTHERN DISTRICT OF CALIFORNIA
              14
              15
                 TAYLOR MADE GOLF COMPANY,                 CASE NO. 3:24-cv-00212-AGS-VET
              16 INC.,
                                                           Judge: Hon. Andrew G. Schopler
              17         Plaintiff,
                                                           FIRST AMENDED COMPLAINT
              18        v.                                 FOR PATENT INFRINGEMENT
                                                           AND FALSE ADVERTISING
              19 COSTCO WHOLESALE CORP.,
                 SOUTHERN CALIFORNIA DESIGN
              20 COMPANY d/b/a INDI GOLF, and SM           JURY TRIAL DEMANDED
                 GLOBAL, LLC,
              21
                          Defendants.                      Filed: May 31, 2024
              22
              23        Plaintiff, Taylor Made Golf Company, Inc. (“Taylor Made” or “Plaintiff”)
              24 brings this Complaint against Defendants Costco Wholesale Corporation
              25 (“Costco”), Southern California Design Company d/b/a Indi Golf (“SCDC”), and
              26 SM Global, LLC (“SM Global”) (collectively “Defendants”). In support of this
              27 Complaint, Taylor Made alleges as follows:
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               1                             NATURE OF THIS ACTION
               2         1.    This is an action for patent infringement brought by Taylor Made
               3 against Defendants pursuant to 35 U.S.C. §§ 271 and 281–285 for Defendants’
               4 infringement of U.S. Patent Nos. RE47,653 (“the ’653 patent”); 10,953,293 (“the
               5 ’293 patent”); 11,351,426 (“the ’426 patent”); 11,420,097 (“the ’097 patent”); and
               6 11,559,727 (“the ’727 patent”) (collectively “the asserted patents”), and for false
               7 advertising for Defendants’ false and misleading statements in violation of the
               8 Lanham Act (15 U.S.C. § 1125(a)).
               9                                        PARTIES
              10         2.    Taylor Made is a Delaware corporation with its principal place of
              11 business at 5545 Fermi Court, Carlsbad, California 92008.
              12         3.    Costco is a Washington corporation, with a principal place of business
              13 located at 999 Lake Dr., Issaquah, WA 98027. On information and belief, Costco
              14 operates one or more physical stores in this District, including at least stores at 650
              15 Gateway Center Dr., San Diego, CA 92102, and 951 Palomar Airport Road,
              16 Carlsbad, CA 92011.
              17         4.    Costco has sold and offered to sell infringing products at least through
              18 its website, Costco.com, to consumers in this District, throughout the State of
              19 California, and throughout the United States.
              20         5.    SCDC is a California corporation with a principal place of business
              21 located at 2205 Faraday Avenue, Suite A, Carlsbad, California 92008. SCDC has
              22 registered “Indi Golf” as a tradename and has in fact done business as Indi Golf. On
              23 information and belief, SCDC has used and manufactured infringing products in, or
              24 imported infringing products into, the United States and has sold infringing
              25 products to Costco.
              26         6.    SM Global is a California corporation with a principal place of
              27 business located at 9461 Charleville Boulevard, #326, Beverly Hills, California
              28 90212. On information and belief, SM Global has used and manufactured infringing
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               1 products in, or imported infringing products into, the United States and has sold
               2 infringing products to Costco.
               3                              JURISDICTION AND VENUE
               4         7.       These claims arise under the patent laws of the United States of
               5 America, 35 U.S.C. §§ 1 et seq. and the Lanham Act, 15 U.S.C. §§ 1051 et seq.
               6 This Court has subject matter jurisdiction over the subject matter of this action
               7 pursuant to 28 U.S.C. §§ 1331 and 1338(a).
               8         8.       This Court has personal jurisdiction over Defendant Costco because,
               9 among other things, Costco’s conduct of business in this District; its purposeful
              10 availment of the rights and benefits of California law; and its substantial,
              11 continuous, and systematic contacts with the state of California and this District.
              12         9.       On information and belief, Costco: (1) intentionally markets and sells
              13 the infringing products to residents in this District; (2) enjoys substantial income
              14 from this District; and (3) owns and operates several stores in this District and
              15 throughout California.
              16         10.      Venue is proper in this District as to Costco pursuant to 28 U.S.C.
              17 §§ 1391(b), 1391(c), and 1400(b) because (i) Costco has committed acts of
              18 infringement in this District at least by selling and offering to sell the infringing
              19 products within the District, (ii) Costco has made false and misleading statements in
              20 this District and to consumers residing in this District, and (iii) Costco maintains a
              21 regular and established place of business in this District.
              22         11.      This Court has personal jurisdiction over Defendant SCDC because,
              23 among other things, SCDC is incorporated in the State of California and has its
              24 principal place of business in this District. SCDC also conducts business in this
              25 District; purposefully avails itself to the rights and benefits of California law; and
              26 has substantial, continuous, and systematic contacts with the state of California and
              27 this District.
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               1         12.      On information and belief, SCDC regularly and continuously transacts
               2 business in the District, including by designing, using, making, importing, and
               3 selling the infringing products. On information and belief, SCDC designs,
               4 manufactures, or imports the infringing products on behalf of Costco and directly or
               5 indirectly sells the infringing products to Costco, which then sells the infringing
               6 products to customers in this District through Costco’s retail locations.
               7         13.      Venue is proper in this District as to SCDC pursuant to 28 U.S.C.
               8 §§ 1391(b), 1391(c), and 1400(b) because SCDC is incorporated in California and
               9 has a principal place of business in this District.
              10         14.      This Court has personal jurisdiction over Defendant SM Global
              11 because, among other things, SM Global is incorporated and has its principal place
              12 of business in the State of California. SM Global also conducts business in this
              13 District; purposefully avails itself to the rights and benefits of California law; and
              14 has substantial, continuous, and systematic contacts with the state of California and
              15 this District.
              16         15.      On information and belief, SM Global regularly and continuously
              17 transacts business in the District, including by making, importing, and selling the
              18 infringing products. On information and belief, SM Global manufactures or
              19 imports the infringing products on behalf of Costco and directly or indirectly sells
              20 the infringing products to Costco, which then sells the infringing products to
              21 customers in this District through Costco’s retail locations.
              22         16.      Venue is proper in this District as to SM Global pursuant to 28 U.S.C.
              23 §§ 1391(b), 1391(c), 1391(d), and 1400(b) because (i) SM Global has committed
              24 acts of infringement in this District at least by making, using, importing, offering to
              25 sell, or selling the infringing products within the District; and (ii) SM Global is
              26 incorporated in California and subject to this Court’s personal jurisdiction.
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               1                                   BACKGROUND
               2         17.   Taylor Made is the world’s leading designer and innovator of golf
               3 clubs and has been at the forefront of innovation and technology in the golf industry
               4 for over 40 years. Taylor Made’s history of innovation includes the P790 irons.
               5 These innovative golf clubs were developed by Taylor Made and revolutionized the
               6 filled-iron category upon their 2017 launch.
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              16         18.   The P790 irons incorporated a host of technologies that aided golf
              17 players in improving distance, feel, forgiveness, and playability. These technologies
              18 included a body comprised of specifically chosen alloys and shaped to distribute
              19 weight; an internal cavity filled with a proprietary SpeedFoam™ polymer; and
              20 tungsten weights to further optimize the weight distribution. Each of these features
              21 were innovative and designed to help golfers improve their distance, consistency,
              22 and accuracy. An exploded view of the P790 irons is shown below.
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              11         19.   Taylor Made has continued to innovate and refine its P790 irons since
              12 their launch in 2017 and further improve performance for golfers the world over. As
              13 a result the P790 irons have been both critically acclaimed and in high demand from
              14 golf consumers.
              15         20.   Included in the features of the P790 irons are a number of
              16 breakthrough inventions created by Taylor Made employees that are covered by
              17 issued U.S. patents.
              18         21.   Taylor Made marks each P790 iron with “Pat. at
              19 taylormadegolf.com/pat.” The URL appears on a label affixed to the shaft of the 7-
              20 iron in each set of P790 clubs. The website states “[i]n accordance with Section
              21 287(a) of Title 35 of the United States Code, the reader is hereby placed on notice
              22 of Taylor Made Golf Company's rights in the United States Patents listed on this
              23 site and associated with the following products.” The website lists the patents that
              24 are encompassed by the P790 irons, which includes each of the asserted patents.
              25                                 The Asserted Patents
              26          I.   The ’653 Patent
              27         22.   On October 22, 2019, the United States Patent and Trademark Office
              28 (“USPTO”) duly and legally issued the ’653 patent, entitled “Golf Club Head.” A
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               1 true and correct copy of the ’653 patent is attached as Exhibit 1. The inventors of
               2 the ’653 patent are Bret H. Wahl, Peter L. Larsen, and Loren Stowe.
               3         23.   The ’653 patent is a reissue of U.S. Patent No. 9,265,995, which issued
               4 from a continuation application of Application No. 13/960,554. The Application
               5 No. 13/960,554, including continuations, divisions, and reissues, was assigned from
               6 the inventors to Taylor Made Golf Company, Inc. on August 22, 2013. Taylor Made
               7 thus owns all rights and title to the ’653 patent and has standing to assert this patent.
               8         24.   The ’653 patent is valid and enforceable.
               9         II.   The ’293 Patent
              10         25.   On March 23, 2021, the USPTO duly and legally issued the ’293
              11 patent, entitled “Golf Club Head.” A true and correct copy of the ’293 patent is
              12 attached as Exhibit 2. The inventors of the ’293 patent are Paul M. Demkowski,
              13 Bret H. Wahl, Scott Taylor, and Sanjay Kuttappa.
              14         26.   The ’293 patent is a continuation of Application No. 15/706,632.
              15 Application No. 15/706,632, including continuations, divisions, and reissues, was
              16 assigned from the inventors to Taylor Made Golf Company, Inc. by March 7, 2019.
              17 Taylor Made thus owns all rights and title to the ’293 patent and has standing to
              18 assert this patent.
              19         27.   The ’293 patent is valid and enforceable.
              20        III.   The ’426 Patent
              21         28.   On June 7, 2022, the USPTO duly and legally issued the ’426 patent,
              22 entitled “Golf Club Head.” A true and correct copy of the ’426 patent is attached as
              23 Exhibit 3. The inventors of the ’426 patent are Paul M. Demkowski, Bret H. Wahl,
              24 Scott Taylor, and Sanjay Kuttappa.
              25         29.   The ’426 patent is a continuation of Application No. 16/800,811,
              26 which itself is a continuation of Application No. 15/706,632. Application No.
              27 15/706,632, including continuations, divisions, and reissues, was assigned from the
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               1 inventors to Taylor Made Golf Company, Inc. by March 7, 2019. Taylor Made thus
               2 owns all rights and title to the ’426 patent and has standing to assert this patent.
               3         30.    The ’426 patent is valid and enforceable.
               4         IV.    The ’097 Patent
               5         31.    On August 23, 2022, the USPTO duly and legally issued the ’097
               6 patent, entitled “Golf Club Head.” A true and correct copy of the ’097 patent is
               7 attached as Exhibit 4. The inventors of the ’097 patent are Paul M. Demkowski,
               8 Bret H. Wahl, and Scott Taylor.
               9         32.    The ’097 patent is a continuation of Application No. 16/720,678,
              10 which itself is a continuation of Application No. 15/394,549. Application No.
              11 15/394,549, including continuations, divisions, and reissues, was assigned from the
              12 inventors to Taylor Made Golf Company, Inc. by September 26, 2017. Taylor Made
              13 thus owns all rights and title to the ’097 patent and has standing to assert this patent.
              14         33.    The ’097 patent is valid and enforceable.
              15           V.   The ’727 Patent
              16         34.    On January 24, 2023, the USPTO duly and legally issued the ’727
              17 patent, entitled “Golf Club Head.” A true and correct copy of the ’727 patent is
              18 attached as Exhibit 5. The inventors of the ’727 patent are Paul M. Demkowski,
              19 Matt Bovee, Mike Walker, Boo Ohashi, and Connor Halberg.
              20         35.    The ’727 patent issued from Application No. 17/087,596. Application
              21 No. 17/087,596, including continuations, divisions, and reissues, was assigned from
              22 the inventors to Taylor Made Golf Company, Inc. by November 25, 2020. Taylor
              23 Made thus owns all rights and title to the ’727 patent and has standing to assert this
              24 patent.
              25         36.    The ’727 patent is valid and enforceable.
              26                           Defendants’ Acts of Infringement
              27         37.    Taylor Made restates and incorporates by reference the allegations in
              28 paragraphs 1 through 36 of this Complaint as if fully set forth herein.
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               1         38.   Costco is a large multi-national retail corporation known for its chain
               2 of warehouse stores. Costco sells a variety of products including food, electronics,
               3 clothing, and sporting goods. In addition to selling products from third-party
               4 brands, Costco also offers its own “house” brand of products under the Kirkland
               5 Signature™ name.
               6         39.   Among the products sold under the Kirkland Signature™ brand are golf
               7 clubs, including a Kirkland Signature™ Players Iron set (the “accused products”),
               8 pictured below. Costco began selling and offering for sale the accused products
               9 through its website by December 2023. See https://www.costco.com/kirkland-
              10 signature-7-piece-players-iron-set%2C-right-handed.product.4000236767.html (last
              11 visited April 16, 2024).
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              20         40.   The accused products copy many features and technologies from
              21 Taylor Made’s P790 irons and the asserted patents. Costco’s website stated that the
              22 accused products “are built for distance and forgiveness with a stainless steel body,
              23 injected urethane insert, and an internal tungsten weight for optimal launch,
              24 forgiveness, and playability.” Id. The website also provided a diagram of its irons
              25 showing the body of the club, the internal cavity, urethane insert, and tungsten
              26 weight.
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              11         41.   Costco engaged one or both of SCDC or SM Global to design,
              12 manufacture, or import the accused products.
              13      42. By at least December 31, 2022, the accused products were listed on the
              14 United States Golf Association (“USGA”) conforming clubs list, which identifies
              15 clubs that USGA certifies as meeting the rules of golf and identifies the
              16 manufacturer of the club, and listed that the manufacturer was “Indi Golf.” To be
              17 listed on the USGA conforming clubs list, a mock-up, prototype, first article, or
              18 production golf club head would need to be submitted to USGA to obtain its
              19 approval. It is routine, and in most cases necessary, that a club maker first use a
              20 club before seeking USGA approval for inclusion of that club on the conforming
              21 clubs list.
              22         43.   SCDC offered its product development services to Costco. SCDC’s
              23 website states that it “is a full-service product development consulting firm with
              24 expertise in sustainable product design, user experience, engineering, branding,
              25 marketing, sourcing, production, logistics, eco-friendly manufacturing, and global
              26 supply chain management.” https://scdesignco.com/ (last visited April 16, 2024).
              27 SCDC identifies Kirkland Signature™, Costco’s brand under which the accused
              28 products are identified and sold, as a client. Id.
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               1         44.   SM Global offered its services to Costco and Taylor Made. SM
               2 Global’s website states that its “services encompass planning, sourcing,
               3 distribution, packaging, and logistics for a wide range of products.”
               4 https://www.smglobalkorea.com/?lang=en (last visited April 16, 2024). SM Global
               5 identifies Costco Wholesale and Kirkland Signature as partners. Id.
               6         45.   Import records show that three shipments were imported into the
               7 United States on May 11, 2023, and May 15, 2023, from China to the ports of Long
               8 Beach and Los Angeles in California. These shipments were labeled “Golf Clubs
               9 Complete,” and the consignee of record was Defendant SM Global. On information
              10 and belief, these shipments contained sets of the accused products. On information
              11 and belief, the imported accused products were sold or offered for sale by SM
              12 Global to Costco.
              13         46.   On December 9, 2023, Costco began selling the accused products and
              14 at least through its website to customers in the United States. On information and
              15 belief the accused products offered for sale in December 2023 were imported into
              16 the United States in the May 2023 shipments.
              17         47.   On December 12, 2023, counsel for Taylor Made sent a letter to
              18 Costco’s general counsel advising Costco that Taylor Made is the owner of certain
              19 patents directed to golf clubs and specifically identified each of the asserted patents.
              20 A copy of the letter is attached as Exhibit 6. The letter further requested that Costco
              21 contact Taylor Made’s counsel were Costco to have any questions regarding Taylor
              22 Made’s patent portfolio.
              23         48.   Following receipt of the December 12th letter, by at least December
              24 28, 2023, the listing for the accused products on Costco’s website was taken down.
              25 See
              26 https://www.reddit.com/r/golf/comments/18tetp7/kirkland_irons_and_driver_now_
              27 no_longer_listed_on/?rdt=33271 (last visited April 16, 2024) (post-dated December
              28 28, 2023, noting the website listing for the accused products was inaccessible);
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               1 https://web.archive.org/web/20231230043021/https:/www.costco.com/kirkland-
               2 signature-7-piece-players-iron-set%2C-right-handed.product.4000236767.html (last
               3 visited April 16, 2024) (showing the listing for the accused products on Costco’s
               4 website was inaccessible on December 30, 2023).
               5         49.   Costco was aware of Taylor Made’s patents covering golf clubs at least
               6 as of the December 12th letter. Costco removed the listing for the accused products
               7 from its website because it knew of Taylor Made’s patents covering the accused
               8 products and was aware or willfully blind to the fact that the accused products
               9 infringed the asserted patents.
              10         50.   According to import records, on December 22, 2023, and December
              11 28, 2023, an additional four shipments labeled as “Golf Clubs Complete” were
              12 imported from China into the United States through the port of Long Beach,
              13 California. The consignee was identified as a related entity to Defendant SM
              14 Global—SM Global Korea Co., Ltd. On information and belief, each of these
              15 shipments contained sets of the accused products. On information and belief, the
              16 imported accused products were sold or offered for sale by SM Global to Costco.
              17         51.   In January 2024, the webpage for the accused products was again made
              18 accessible and Costco resumed selling the accused products. Social media postings
              19 showed that the accused products were available for sale from Costco again via its
              20 website on or around January 10, 2024. See
              21 https://www.instagram.com/p/C18ZXKruBpn/ (last visited April 16, 2024);
              22 https://slickdeals.net/f/17225779-kirkland-signature-irons-back-in-stock-499-
              23 99#commentsBox (last visited April 16, 2024). On information and belief, the
              24 accused products offered for sale in January 2024 were imported into the United
              25 States in the May 2023 or December 2023 shipments.
              26         52.   On January 31, 2024, Taylor Made filed suit against Costco and SCDC
              27 by filing its original Complaint in this action (Dkt. No. 1).
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               1         53.   By at least March 21, 2024, the listing of the accused products on the
               2 USGA conforming list had been changed and now states that the manufacturer is
               3 “SM Global, LLC.” Again, to be listed on the USGA conforming clubs list, a mock-
               4 up, prototype, first article, or production golf club head would need to be submitted
               5 to USGA to obtain its approval. And it is routine, and in most cases necessary, that
               6 a club maker first use a club before seeking USGA approval for inclusion of that
               7 club on the conforming clubs list.
               8         54.   On February 9, 2024, a representative of SM Global contacted Taylor
               9 Made requesting a meeting to discuss Taylor Made’s lawsuit against Costco and
              10 SCDC.
              11         55.   Importation records show that two additional shipments of “Golf Clubs
              12 Complete” were imported from China into the United States on March 27, 2024
              13 through the port of Los Angeles, California. Defendant SM Global was listed as the
              14 consignee. On information and belief, these shipments contain sets of the accused
              15 products. SM Global imported the accused products in March 2024 and sold, or
              16 offered to sell, the accused products to Costco despite knowing of Taylor Made’s
              17 lawsuit, the asserted patents, and that the accused products infringed the asserted
              18 patents.
              19         56.   On information and belief, SCDC, SM Global, or both in concert with
              20 one another use, manufacture, or import the accused products for Costco and sells
              21 the accused products to Costco. On information and belief, the accused products are
              22 made by or at the direction of SCDC, SM Global, Costco, or a combination of
              23 SCDC, SM Global, and Costco in concert with one another in the United States or
              24 are imported into the United States by or at the direction of SCDC, SM Global,
              25 Costco, or a combination of SCDC, SM Global, and Costco in concert with one
              26 another.
              27         57.   On information and belief, the accused products directly copy the
              28 patented features of the P790 irons, including features covered by the asserted
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               1 patents. The president of SCDC, Travis Downing, previously worked at Taylor
               2 Made headquarters alongside Taylor Made engineers in the Research and
               3 Development department during the development of the P790 irons and the
               4 prosecution of the asserted patents. As a result, Travis Downing knew or should
               5 have known of the P790 irons and of Taylor Made’s patents covering the P790
               6 irons. On information and belief, Travis Downing was President of SCDC during
               7 the entirety of the design, manufacture, importation, use, and sale of the accused
               8 products and was involved in those activities. As a result, SCDC designed,
               9 manufactured, imported, used, or sold the accused products despite having
              10 knowledge of the asserted patents and knowing or being willfully blind to the fact
              11 that the accused products infringe the asserted patents.
              12         58.    On information and belief, SCDC and SM Global continue to design,
              13 make, use, sell, offer for sale, or import into the United States the accused products
              14 for, or at the direction of, Costco.
              15         59.    On information and belief, Costco continues to sell, offer for sale, or
              16 import into the United States the accused products, or directs and induces SM
              17 Global to import into the United States and sell the accused products.
              18         60.    On information and belief, Costco intends to make future sales of the
              19 accused products, as shown by Costco’s maintenance of the website listing of its
              20 accused products. See https://www.costco.com/kirkland-signature-7-piece-players-
              21 iron-set%2C-right-handed.product.4000236767.html (last visited April 16, 2024).
              22         61.    As set forth below and more fully in the claim charts appended to this
              23 Complaint, the accused products incorporate, without permission or license from
              24 Taylor Made, the inventions claimed in the asserted patents. Taylor Made
              25 respectfully seeks relief from this Court for Defendants’ infringement.
              26         62.    Costco, SCDC, and SM Global have each directly infringed and
              27 continue to directly infringe the asserted patents under 35 U.S.C. § 271(a) by
              28 making, using, selling, or offering to sell, in this District and elsewhere in the
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               1 United States, or importing into this District and elsewhere in the United States, the
               2 accused products, that is the Kirkland Signature™ irons.
               3         63.   SCDC, SM Global, or both in concert with one another have indirectly
               4 infringed and continue to indirectly infringe the asserted patents under 35 U.S.C.
               5 § 271(b) by actively inducing Costco to directly infringe the asserted patents under
               6 35 U.S.C. § 271(a) in this District and elsewhere in the United States.
               7         64.   SCDC has indirectly infringed and continues to indirectly infringe the
               8 asserted patents under 35 U.S.C. § 271(b) by actively inducing SM Global to
               9 directly infringe the asserted patents under 35 U.S.C. § 271(a) by making, selling,
              10 or importing into the United States the accused products in this District or
              11 elsewhere in the United States.
              12         65.   SCDC knew that the accused products it designed or made would be
              13 made, used, or imported into the United States by Costco or SM Global, and SCDC
              14 intended for Costco and SM Global to commit those infringing acts. SCDC’s use of
              15 the technology claimed in the asserted patents to design the accused products
              16 encouraged SM Global, or Costco, or both to infringe the asserted patents.
              17         66.   As described above, SCDC, through its President, Travis Downing,
              18 knew of the P790 irons, Taylor Made’s patents covering the P790 irons, including
              19 the asserted patents, and knew generally of Taylor Made’s status as an innovator
              20 and its marking of its patents on its products, including the P790 irons. SCDC
              21 further knew that its designs would result in the manufacture, sale, or importation of
              22 the accused products by Costco or SM Global and that these acts constituted direct
              23 infringement of the asserted patents. SCDC also knew of the asserted patents and
              24 the acts of direct infringement by Costco as of January 31, 2024 when Taylor Made
              25 filed its Complaint, or at the latest by February 6, 2024 when the Complaint was
              26 served upon SCDC. Dkt. No. 10.
              27         67.    Alternatively, SCDC knew that its designs would result in the
              28 manufacture, sale, or importation of the accused products by Costco or SM Global
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               1 and was willfully blind by deliberately disregarding the likelihood that these acts
               2 directly infringed the asserted patents. Namely, given Travis Downing’s past work
               3 experience and familiarity with the P790 irons and Taylor Made’s patents, and the
               4 marking of the P790 irons with the asserted patents, SCDC had or should have had
               5 a subjective belief that making, using, selling, or importing the accused products
               6 constituted infringement of the asserted patents. Further, if SCDC did not have
               7 actual knowledge of the acts of infringement, it was as a result of Travis Downing
               8 deliberately choosing not to compare the accused products he was involved in
               9 designing to the asserted patents, which he knew of or should have known of.
              10         68.   SM Global has indirectly infringed and continues to indirectly infringe
              11 the asserted patents under 35 U.S.C. § 271(b) by actively inducing Costco to
              12 directly infringe the asserted patents under 35 U.S.C. § 271(a) by offering to sell
              13 and selling the accused products.
              14         69.   SM Global knew that the accused products it made, sold, or imported
              15 would be made, used, or imported into the United States, and offered for sale and
              16 sold by Costco, and SM Global intended for Costco to commit those infringing acts.
              17 SM Global encouraged Costco to infringe the asserted patents by selling or
              18 importing the accused products.
              19         70.   SM Global had business discussions with Taylor Made in the past and
              20 was therefore aware of Taylor Made’s products—including the P790 irons—and
              21 Taylor Made’s patents and marking of its patents on the P790 irons. On information
              22 and belief, Costco or SCDC either provided a copy of the original Complaint or
              23 relayed the allegations contained therein to SM Global on or before February 9,
              24 2024. A representative of SM Global contacted Taylor Made on February 9, 2024
              25 requesting a discussion regarding the allegations in the original Complaint. SM
              26 Global’s knowledge of the allegations in the Complaint is also supported by
              27 Defendants’ intentional modification of the statements regarding the purported
              28 “injected urethane insert” made by Defendants, including SM Global, on Costco’s
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               1 website for the accused products following service of the allegations in Taylor
               2 Made’s January 31, 2024 original Complaint, which identified this statement as
               3 false. See infra ¶¶ 81–87. Therefore, SM Global was at least aware of the asserted
               4 patents and that making, selling, or importing the accused products constituted
               5 infringement by no later than February 9, 2024. SM Global further knew of the sale
               6 of the accused products by Costco and that these acts constituted direct
               7 infringement of the asserted patents.
               8         71.    Alternatively, SM Global was willfully blind to the infringing acts of
               9 offering to sell and selling of the accused products by deliberately disregarding the
              10 likelihood that these acts directly infringed the asserted patents. Namely, given SM
              11 Global’s past relationship with Taylor Made and familiarity with the P790 irons and
              12 Taylor Made’s patents, and the marking of the P790 irons with the asserted patents,
              13 SM Global had or should have had a subjective belief that making, using, selling, or
              14 importing the accused products in the course of its relationship with client Costco
              15 Wholesale or Kirkland Signature constituted infringement of the asserted patents.
              16 Further, if SM Global did not have actual knowledge of the acts of infringement, it
              17 was as a result of its deliberate action to not review the detailed infringement
              18 allegations in the original Complaint.
              19         72.   Costco had actual notice of its infringement of the asserted patents by
              20 importing or selling the accused products by December 28, 2023 after it had
              21 received notice of Taylor Made’s patents in the December 12, 2023 notice letter.
              22 This is evidenced by Costco’s actions to remove the website listing for the accused
              23 products on or around December 28, 2023. At the latest, Costco had actual notice of
              24 the asserted patents and its infringement of the asserted patents via the accused
              25 products by no later than February 6, 2024; the date when the original Complaint
              26 was served on Costco. Dkt. No. 9.
              27         73.   SCDC had actual notice of its infringement throughout the design and
              28 manufacture of the accused products as a result of Travis Downing’s former work at
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               1 Taylor Made during the development of the P790. The accused products were
               2 designed and made no later than December 2022 when they were listed on the
               3 USGA conforming list and therefore, SCDC would have had actual knowledge of
               4 both the asserted patents and that making, using, importing or selling, the accused
               5 products constituted infringement of the asserted patents by that date. At the latest,
               6 SCDC had actual notice of the asserted patents and its infringement of the asserted
               7 patents via the accused products by no later than February 6, 2024; the date when
               8 the original Complaint was served on SCDC. Dkt. No. 10.
               9         74.    SM Global had actual notice of its infringement by February 9, 2024.
              10 On information and belief, SM Global either received a copy of the original
              11 Complaint, or was informed of the allegations of infringement by the accused
              12 products contained therein by Costco or SCDC by no later than February 9, 2024.
              13 SM Global’s knowledge of the asserted patents and the infringement allegations
              14 against the accused products is confirmed by SM Global’s message to Taylor Made
              15 on February 9, 2024 seeking to discuss the allegations.
              16         75.    At the very latest, Defendants received actual notice of their
              17 infringement as of the date of service of this First Amended Complaint. Therefore,
              18 each Defendant was or is now aware of the asserted patents and the accused
              19 products’ infringement thereof.
              20         76.    On information and belief, Defendants have made, used, sold, offered
              21 to sell, or imported or encouraged the making, using, selling, offering to sell, or
              22 importing of the accused products, despite knowing of an objectively high
              23 likelihood that their actions constituted infringement of the asserted patents at all
              24 times relevant to this suit.
              25         77.    On information and belief, SCDC and SM Global encouraged Costco
              26 to make, use, sell, offer to sell, or import the accused products, knowing that Costco
              27 would sell or offer to sell the accused products in the United States and knowing
              28 that those acts would constitute infringement of the asserted patents.
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               1          78.   For the reasons described above, Defendants’ direct infringement of
               2 the asserted patents has also been willful.
               3          79.   Defendants’ acts of infringement have caused damage to Taylor Made.
               4 Taylor Made is entitled to recover from Defendants the damages incurred by Taylor
               5 Made as a result of Defendants’ wrongful acts.
               6                       Defendants’ Acts of False Advertisement
               7          80.   Taylor Made restates and incorporates by reference the allegations in
               8 paragraphs 1 through 79 of this Complaint as if fully set forth herein.
               9          81.   Defendants have advertised the accused products to the public via
              10 Costco’s web store. Costco’s website listing the accused products for sale stated
              11 that “[t]he Kirkland Signature Players Distance Irons are built for distance and
              12 forgiveness with a[n] . . . injected urethane insert.”
              13 https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
              14 handed.product.4000236767.html (last visited January 29, 2024).
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                          82.   The accused products, however, do not contain an “injected urethane
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                   insert.”
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                          83.   Costco’s website for the accused products stated that these statements
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                   are provided “by the manufacturer.” Id. Thus, on information and belief, Costco,
              27
                   SM Global, and SCDC have each committed acts of direct false advertisement by
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               1 making false statements of fact in a commercial advertisement about their own
               2 product. Defendants’ false advertising is available on Costco’s website, which is
               3 available to consumers throughout the United States and offers the accused products
               4 for sale throughout the United States. Defendants have caused their false statements
               5 regarding the accused products to enter interstate commerce.
               6         84.    Alternatively, SCDC and SM Global have each committed acts of
               7 contributory false advertisement by knowingly inducing, causing, or materially
               8 participating in the direct act of false advertisement on Costco’s website. Costco’s
               9 website stated that the information contained in the false advertisement was
              10 provided “by the manufacturer,” so SCDC and SM Global each contributed to the
              11 making and distribution of the false advertisement by providing false information
              12 regarding the construction of the accused products that they knew Costco would
              13 include in its advertisement for the accused products to customers.
              14         85.    The statement by Defendants that the accused products contain an
              15 “injected urethane insert” is literally false, or in the alternative, is misleading and,
              16 on information and belief, has actually deceived or has a tendency to deceive
              17 consumers in a way that influences purchasing decisions. Defendants’ false
              18 statements are material to purchasing decisions because they falsely or misleadingly
              19 suggest that the accused products have features found on premium clubs, such as
              20 the Taylor Made P790.
              21         86.    Defendants’ false advertising has misled golf journalists and customers
              22 to believe the accused products are similar to or equivalent to the Taylor Made
              23 P790 irons. See https://mygolfspy.com/we-tried-it/we-tried-it-kirkland-signature-
              24 players-irons-review/ (December 26, 2023) (last visited April 16, 2024) (“Costco’s
              25 iron bears a striking resemblance to TaylorMade’s P790.”);
              26 https://golf.com/gear/costcos-499-kirkland-signature-irons-sold-out-in-just-hours/
              27 (December 10, 2023) (last visited April 16, 2024) (“[The] hollow foam/urethane-
              28 filled construction [of the accused products] is similar to many other irons in the
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               1 player’s distance category, including the TaylorMade P790 . . . .”);
               2 https://old.reddit.com/r/golf/comments/18evsni/so_costcos_kirkland_irons_are_basi
               3 cally_rebranded/ (last visited April 16, 2024) (“So Costco’s Kirkland irons are
               4 basically rebranded 2019 P790’s?”); id. (“I read on Golf Spy that the manufacturer
               5 is a company named Indi Golf. Could it be possible that they bought Taylor Made’s
               6 design/machinery?”);
               7 https://www.reddit.com/r/golf/comments/17fnmwd/so_the_costco_clubs_are_theor
               8 etically_dropping_in/ (last visited April 16, 2024) (“I’m obviously really interested
               9 in [the Costco Kirkland Signature] irons, especially if they are P790 knock offs.”).
              10         87.    Following the January 31, 2024 filing of the original Complaint,
              11 Defendants modified the advertisement on Costco’s website to modify the “injected
              12 urethane insert” statement to instead read “injected polymer insert.”
              13 https://www.costco.com/kirkland-signature-7-piece-players-iron-set%2C-right-
              14 handed.product.4000236767.html (last visited April 16, 2024).
              15           COUNT I: INFRINGEMENT OF U.S. PATENT NO. RE47,653
              16         88.    Taylor Made restates and incorporates by reference the allegations in
              17 paragraphs 1 through 87 of this Complaint as if fully set forth herein.
              18         89.    As described above, each Defendant has directly infringed and
              19 continues to directly infringe, literally or under the doctrine of equivalents, one or
              20 more of the claims of the ’653 patent by, among other things, making, using,
              21 selling, offering to sell, or importing the accused products that practice the ’653
              22 patent claims without permission in violation of 35 U.S.C. § 271(a).
              23         90.    Each of Defendants’ accused products satisfy, literally or under the
              24 doctrine of equivalents, at least claim 1 of the ’653 patent. See Exhibit 7.
              25         91.    Defendants’ accused products therefore infringe at least one claim of
              26 the ’653 patent.
              27         92.    Defendants’ direct infringement has been and is willful.
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               1         93.    As described above, SCDC, SM Global, or both in concert with one
               2 another have indirectly infringed and continue to indirectly infringe one or more
               3 claims of the ’653 patent by, among other things, inducing Costco or each other to
               4 directly infringe the ’653 patent claims without permission in violation of 35 U.S.C.
               5 § 271(b).
               6         94.    Taylor Made has been damaged and continues to be damaged by
               7 Defendants’ infringement of the ’653 patent. As a result, Taylor Made is entitled to
               8 an award of damages adequate to compensate it for the infringement in an amount
               9 that is in no event less than a reasonable royalty pursuant to 35 U.S.C. § 284.
              10         95.    As a result of Defendants’ infringement of the ’653 patent, Taylor
              11 Made has suffered irreparable harm and impairment of the value of its patent rights,
              12 and Taylor Made will continue to suffer irreparable harm and impairment of the
              13 value of its patent rights, unless and until Defendants are permanently enjoined by
              14 this Court from infringing the ’653 patent under 35 U.S.C. § 283. Taylor Made has
              15 no adequate remedy at law and is entitled to a permanent injunction against
              16 Defendants.
              17          COUNT II: INFRINGEMENT OF U.S. PATENT NO. 10,953,293
              18         96.    Taylor Made restates and incorporates by reference the allegations in
              19 paragraphs 1 through 95 of this Complaint as if fully set forth herein.
              20         97.    As described above, each Defendant has directly infringed and
              21 continues to directly infringe, literally or under the doctrine of equivalents, one or
              22 more of the claims of the ’293 patent by, among other things, making, using,
              23 selling, offering to sell, or importing the accused products that practice the ’293
              24 patent claims without permission in violation of 35 U.S.C. § 271(a).
              25         98.    Each of Defendants’ accused products satisfy, literally or under the
              26 doctrine of equivalents, at least claim 1 of the ’293 patent. See Exhibit 8.
              27         99.    Defendants’ accused products therefore infringe at least one claim of
              28 the ’293 patent.
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               1         100. Defendants’ direct infringement has been and is willful.
               2         101. As described above, SCDC, SM Global, or both in concert with one
               3 another have indirectly infringed and continue to indirectly infringe one or more
               4 claims of the ’293 patent by, among other things, inducing Costco or each other to
               5 directly infringe the ’293 patent claims without permission in violation of 35 U.S.C.
               6 § 271(b).
               7         102. Taylor Made has been damaged and continues to be damaged by
               8 Defendants’ infringement of the ’293 patent. As a result, Taylor Made is entitled to
               9 an award of damages adequate to compensate it for the infringement in an amount
              10 that is in no event less than a reasonable royalty pursuant to 35 U.S.C. § 284.
              11         103. As a result of Defendants’ infringement of the ’293 patent, Taylor
              12 Made has suffered irreparable harm and impairment of the value of its patent rights,
              13 and Taylor Made will continue to suffer irreparable harm and impairment of the
              14 value of its patent rights, unless and until Defendants are permanently enjoined by
              15 this Court from infringing the ’293 patent under 35 U.S.C. § 283. Taylor Made has
              16 no adequate remedy at law and is entitled to a permanent injunction against
              17 Defendants.
              18         COUNT III: INFRINGEMENT OF U.S. PATENT NO. 11,351,426
              19         104. Taylor Made restates and incorporates by reference the allegations in
              20 paragraphs 1 through 103 of this Complaint as if fully set forth herein.
              21         105. As described above, each Defendant has directly infringed and
              22 continues to directly infringe, literally or under the doctrine of equivalents, one or
              23 more of the claims of the ’426 patent by, among other things, making, using,
              24 selling, offering to sell, or importing the accused products that practice the ’426
              25 patent claims without permission in violation of 35 U.S.C. § 271(a).
              26         106. Each of Defendants’ accused products satisfy, literally or under the
              27 doctrine of equivalents, at least claim 17 of the ’426 patent. See Exhibit 9.
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               1         107. Defendants’ accused products therefore infringe at least one claim of
               2 the ’426 patent.
               3         108. Defendants’ direct infringement has been and is willful.
               4         109. As described above, SCDC, SM Global, or both in concert with one
               5 another have indirectly infringed and continue to indirectly infringe one or more
               6 claims of the ’426 patent by, among other things, inducing Costco or each other to
               7 directly infringe the ’426 patent claims without permission in violation of 35 U.S.C.
               8 § 271(b).
               9         110. Taylor Made has been damaged and continues to be damaged by
              10 Defendants’ infringement of the ’426 patent. As a result, Taylor Made is entitled to
              11 an award of damages adequate to compensate it for the infringement in an amount
              12 that is in no event less than a reasonable royalty pursuant to 35 U.S.C. § 284.
              13         111. As a result of Defendants’ infringement of the ’426 patent, Taylor
              14 Made has suffered irreparable harm and impairment of the value of its patent rights,
              15 and Taylor Made will continue to suffer irreparable harm and impairment of the
              16 value of its patent rights, unless and until Defendants are permanently enjoined by
              17 this Court from infringing the ’426 patent under 35 U.S.C. § 283. Taylor Made has
              18 no adequate remedy at law and is entitled to a permanent injunction against
              19 Defendants.
              20         COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 11,420,097
              21         112. Taylor Made restates and incorporates by reference the allegations in
              22 paragraphs 1 through 111 of this Complaint as if fully set forth herein.
              23         113. As described above, each Defendant has directly infringed and
              24 continues to directly infringe, literally or under the doctrine of equivalents, one or
              25 more of the claims of the ’097 patent by, among other things, making, using,
              26 selling, offering to sell, or importing the accused products that practice the ’097
              27 patent claims without permission in violation of 35 U.S.C. § 271(a).
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               1         114. Each of Defendants’ accused products satisfy, literally or under the
               2 doctrine of equivalents, at least claim 13 of the ’097 patent. See Exhibit 10.
               3         115. Defendants’ accused products therefore infringe at least one claim of
               4 the ’097 patent.
               5         116. Defendants’ direct infringement has been and is willful.
               6         117. As described above, SCDC, SM Global, or both in concert with one
               7 another have indirectly infringed and continue to indirectly infringe one or more
               8 claims of the ’097 patent by, among other things, inducing Costco or each other to
               9 directly infringe the ’097 patent claims without permission in violation of 35 U.S.C.
              10 § 271(b).
              11         118. Taylor Made has been damaged and continues to be damaged by
              12 Defendants’ infringement of the ’097 patent. As a result, Taylor Made is entitled to
              13 an award of damages adequate to compensate it for the infringement in an amount
              14 that is in no event less than a reasonable royalty pursuant to 35 U.S.C. § 284.
              15         119. As a result of Defendants’ infringement of the ’097 patent, Taylor
              16 Made has suffered irreparable harm and impairment of the value of its patent rights,
              17 and Taylor Made will continue to suffer irreparable harm and impairment of the
              18 value of its patent rights, unless and until Defendants are permanently enjoined by
              19 this Court from infringing the ’097 patent under 35 U.S.C. § 283. Taylor Made has
              20 no adequate remedy at law and is entitled to a permanent injunction against
              21 Defendants.
              22          COUNT V: INFRINGEMENT OF U.S. PATENT NO. 11,559,727
              23         120. Taylor Made restates and incorporates by reference the allegations in
              24 paragraphs 1 through 119 of this Complaint as if fully set forth herein.
              25         121. As described above, each Defendant has directly infringed and
              26 continues to directly infringe, literally or under the doctrine of equivalents, one or
              27 more of the claims of the ’727 patent by, among other things, making, using,
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               1 selling, offering to sell, or importing the accused products that practice the ’727
               2 patent claims without permission in violation of 35 U.S.C. § 271(a).
               3         122. Each of Defendants’ accused products satisfy, literally or under the
               4 doctrine of equivalents, at least claim 13 of the ’727 patent. See Exhibit 11.
               5         123. Defendants’ accused products therefore infringe at least one claim of
               6 the ’727 patent.
               7         124. Defendants’ direct infringement has been and is willful.
               8         125. As described above, SCDC, SM Global, or both in concert with one
               9 another have indirectly infringed and continue to indirectly infringe one or more
              10 claims of the ’727 patent by, among other things, inducing Costco or each other to
              11 directly infringe the ’727 patent claims without permission in violation of 35 U.S.C.
              12 § 271(b).
              13         126. Taylor Made has been damaged and continues to be damaged by
              14 Defendants’ infringement of the ’727 patent. As a result, Taylor Made is entitled to
              15 an award of damages adequate to compensate it for the infringement in an amount
              16 that is in no event less than a reasonable royalty pursuant to 35 U.S.C. § 284.
              17         127. As a result of Defendants’ infringement of the ’727 patent, Taylor
              18 Made has suffered irreparable harm and impairment of the value of its patent rights,
              19 and Taylor Made will continue to suffer irreparable harm and impairment of the
              20 value of its patent rights, unless and until Defendants are permanently enjoined by
              21 this Court from infringing the ’727 patent under 35 U.S.C. § 283. Taylor Made has
              22 no adequate remedy at law and is entitled to a permanent injunction against
              23 Defendants.
              24               COUNT VI: FALSE ADVERTISING (15 U.S.C. § 1125)
              25         128. Taylor Made restates and incorporates by reference the allegations in
              26 paragraphs 1 through 127 of this Complaint as if fully set forth herein.
              27         129. Defendants’ statements regarding the construction and performance of
              28 the accused products on Costco’s website are literally false, or in the alternative, are
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               1 misleading and, on information and belief, have actually deceived or have a
               2 tendency to deceive consumers.
               3        130. Defendants’ statements are likely to materially influence customer
               4 purchasing decisions.
               5        131. Defendants caused their false statements to enter into interstate
               6 commerce by publishing them on Costco’s website, which is available nationwide
               7 and offers the accused products for sale nationwide.
               8        132. Defendants’ actions are likely to harm Taylor Made’s sales or
               9 goodwill. Defendants’ false statements that the accused products contain features
              10 that they do not have, may lead customers to purchase the accused products over
              11 Taylor Made’s competing products, including the P790 irons. Taylor Made’s
              12 goodwill is also likely to be harmed among consumers that have been misled to
              13 believe the accused products are equivalent in design or performance to the P790
              14 irons. Defendants’ statements have harmed and will continue to harm Taylor Made.
              15        133. Taylor Made has suffered direct and consequential damages, and is
              16 entitled to recover compensatory damages, including opportunity costs and
              17 enhanced damages in an amount to be proven at trial.
              18        134. As a result of Defendants’ false statements, Taylor Made has suffered
              19 irreparable harm, and Taylor Made will continue to suffer irreparable harm, unless
              20 and until Defendants are permanently enjoined by this Court from continuing to
              21 make or making future false statements regarding the accused products. Taylor
              22 Made has no adequate remedy at law and is entitled to a permanent injunction
              23 against Defendants.
              24                              PRAYER FOR RELIEF
              25        WHEREFORE, Taylor Made respectfully requests judgment against
              26 Defendants as follows:
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               1        A.    a judgment that Defendants have infringed, either literally or under the
               2              doctrine of equivalents, one or more claims of the asserted patents
               3              under 35 U.S.C. § 271(a);
               4        B.    a judgment that Defendants’ infringement has been and is willful;
               5        C.    a judgment that SCDC or SM Global have indirectly infringed one or
               6              more claims of the asserted patents under 35 U.S.C. § 271(b);
               7        D.    a judgment and order requiring Defendants to pay Taylor Made its
               8              damages, costs, expenses, and any enhanced damages to which Taylor
               9              Made is entitled for Defendants’ infringement;
              10        E.    a permanent injunction enjoining Defendants as well as their
              11              subsidiaries, agents, directors, officers, employees, and those in active
              12              concert or participation with Defendants from infringing the asserted
              13              patents;
              14        F.    a judgment and order finding that this is an exceptional case within the
              15              meaning of 35 U.S.C. § 285 and awarding Taylor Made its reasonable
              16              attorneys’ fees against Defendants;
              17        G.    a judgment that Defendants have violated the Lanham Act, 15 U.S.C.
              18              §1125(a), by committing acts of false advertisement either directly or
              19              contributorily;
              20        H.    a judgment and order requiring Defendants’ to pay Taylor Made its
              21              damages, costs, expenses, and any punitive or enhanced damages to
              22              which Taylor Made is entitled for Defendants’ false advertisement;
              23        I.    a permanent injunction enjoining Defendants as well as their
              24              subsidiaries, agents, directors, officers, employees, and those in active
              25              concert or participation with Defendants from making further false and
              26              misleading statements regarding the accused products;
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               1        J.    a judgment and order requiring Defendants to provide an accounting
               2              and to pay supplemental damages to Taylor Made, including without
               3              limitation, pre-judgment and post-judgment interest; and
               4        K.    any and all other relief as the Court may deem appropriate and just
               5              under the circumstances.
               6
               7   DATED: April 18, 2024           Respectfully Submitted,

               8                                   JOHN CHRISTOPHER (J.C.) ROZENDAAL
                                                   BYRON L. PICKARD
               9                                   ROBERT NIEMEIER
                                                   STERNE, KESSLER, GOLDSTEIN & FOX
              10                                   PLLC
              11                                   KARIN G. PAGNANELLI
                                                   MITCHELL SILBERBERG & KNUPP LLP
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              13
                                                   By: /s/ Karin G. Pagnanelli
              14                                      Karin G. Pagnanelli (SBN 174763)
                                                      Attorneys for Plaintiff
              15                                      Taylor Made Golf Company, Inc.
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               1                                    JURY DEMAND
               2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Taylor Made
               3 respectfully demands a trial by jury on all claims and issues so triable.
               4
                   DATED: April 18, 2024             Respectfully Submitted,
               5
                                                     JOHN CHRISTOPHER (J.C.) ROZENDAAL
               6                                     BYRON L. PICKARD
                                                     ROBERT NIEMEIER
               7                                     STERNE, KESSLER, GOLDSTEIN & FOX
                                                     PLLC
               8
                                                     KARIN G. PAGNANELLI
               9                                     MITCHELL SILBERBERG & KNUPP LLP
              10
              11                                     By: /s/ Karin G. Pagnanelli
              12                                        Karin G. Pagnanelli (SBN 174763)
                                                        Attorneys for Plaintiff
              13                                        Taylor Made Golf Company, Inc.
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